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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                  PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;                 Case No.: 3:19-cv-01743-SI
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; GABINO
SORIANO CASTELLANOS; and LATINO
NETWORK,
                             Plaintiffs,
       v.                                        PLAINTIFFS’ REPLY IN SUPPORT OF
                                                 EMERGENCY MOTION FOR
                                                 TEMPORARY RESTRAINING ORDER
DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,
                            Defendants.


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                                        INTRODUCTION
       On April 22, 2020, the President issued Presidential Proclamation 10014 (“the
Proclamation”), which shut down the visa preference relative system with just a single day’s

notice. For certain underage members of the Visa Applicant Subclass, that Proclamation
presented an immediate, existential dilemma: without access to emergency visa adjudication
services, which the Proclamation now potentially forecloses, their expected plan to immigrate,
and to be reunited with their families, would functionally be extinguished. And with only 24
hours’ notice before the Proclamation took effect, they were also left entirely without a remedy.
       Because the relief afforded by this Court’s injunction was intended to provide those
individuals a visa adjudication free of the requirements of Defendants’ unlawful Healthcare
Proclamation, and because the human biological clock will not stop ticking over the next 21
days, Plaintiffs brought this emergency motion under the All Writs Act. The relief that Plaintiffs
seek is limited to a 21-day period to protect those individuals who have no other remedy
available and who would have needed to request an emergency interview during that 21-day
period of time. For all others, including those who may age out at a later date, the existential
dilemma that Defendants have created may be remedied by more conventional means.

                                          ARGUMENT
I.     The Presidential Proclamation places the F2A Preference Visa Applicant Subclass
       members at imminent risk of harm.
       Presidential Proclamation 10014 applies to members of Plaintiffs’ Visa Applicant
Subclass and places subclass members in the F2A preference category at risk of imminent harm.
The Proclamation does not contain a specific exception for F2A preference relatives, and nothing
in the State Department’s updated guidance, or in the Declaration from Brianne Marwaha
(“Marwaha Declaration”), ECF 137-2, suggests that “mission critical or emergency services” are
definitively available for those F2A preference relatives who are about to turn 21. Without
further assurance and protection for these class members, the Proclamation places F2A
preference relatives at grave risk of imminent harm.



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       On March 20, 2020, the State Department suspended the operation of all routine visa
services at all U.S. embassies and consulates because of the COVID-19 pandemic.1 Since that

time, as is confirmed in the Marwaha Declaration, consulates have continued “to provide mission
critical or emergency services to the extent they are able to do so.” ECF 137-2. “Mission critical
or emergency services” include, for those not subject to the Proclamation, the processing of
immigrant visa application cases where the applicant would soon turn 21 and age out of his or
her immigrant visa classification. ECF 137-2, ¶ 2.
       But the Proclamation potentially extinguishes the availability of those services for
everyone subject to its terms, including the members of the Visa Applicant Subclass on whose
behalf Plaintiffs currently seek relief. Indeed, Defendants do not contend otherwise. For
preference relatives who face an imminent risk of aging out by the simple passage of time, the
Proclamation contains no specific exceptions at all. As a result, they face a grave risk of
automatically converting to a F2B family-based preference, drastically increasing their wait time
and separating them from their families for decades, and potentially, indefinitely.
       The Marwaha Declaration does not establish otherwise. Marwaha avers that “[t]he
Department’s inclusion in ‘mission critical or emergency services’ of those cases involving an
applicant likely to age out of their visa classification by turning 21 has not changed.” ECF 137-
2, ¶ 4. That statement implies, but does not confirm, that F2A applicants may continue to seek
interviews to prevent aging out even though they remain subject to the Proclamation. But in the
very next sentence, Marwaha avers that “[p]osts may continue to schedule interviews, as
resources allow, for mission critical and emergency cases where a post determines the applicant
may qualify for an exception under the Presidential Proclamation.” Id. That statement
contradicts the previous sentence, or at the very least obfuscates that age-out applicants may also




1
       Travel.state.gov, U.S. Department of State–Bureau of Consular Affairs, Suspension of
Routine Visa Services (Mar. 20, 2020), https://travel.state.gov/content/travel/en/News/visas-
news/suspension-of-routine-visa-services.html.

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have to meet an exception under the Proclamation to protect their current visa applicant status.2
In any event, visa applicants at risk of aging out of the F2A preference category do not

automatically qualify for an exception under the Proclamation. Contrary to the Marwaha
Declaration, then, the State Department’s operation of “mission critical or emergency services”
for cases involving applicants likely to age out of their visa preference category has absolutely
changed—for many applicants, it is now potentially foreclosed entirely.
       Defendants attempt to minimize the risk of imminent harm to F2A applicants. They note
that “if a beneficiary’s CSPA age is under 21 and she has sought to acquire an immigrant visa by
submitting an online application or paying their immigrant visa applications fees—steps taken
prior to appearing for an in-person interview or even completing the application—then the
beneficiary will maintain her CSPA age, so long as the beneficiary does not marry and the
petitioner maintains her immigration status.” Opp. at 11 (citing 9 Foreign Affairs Manual
(FAM) 502.1-1(D)(6)). That statement suggests, incorrectly, that all F2A visa applicants who
pay their fees and submit an application will protect themselves against aging out.
       The CSPA’s age calculation is not so straightforward and forgiving, however. To
calculate it, one must take the adjusted age of the child in the F2A or derivative category at the
time the priority date in the relevant category becomes current using Chart A, Final Action
Dates, of the monthly Visa Bulletin.3 If the child is under 21 on that date, their F2A or derivative

2
        The Marhawa Declaration’s contradictory statements led Plaintiffs to seek clarification
through a phone call to Defendants before filing this reply. On that call, Plaintiffs understood
that age-out children could seek emergency interviews but that the Proclamation would apply to
them. Plaintiffs understood that the “national interest” exception within the Proclamation would
need to be satisfied and that the timing of that determination is unknown. Plaintiffs understood
that age-out children would not have access to an emergency interview under the policy in place
prior to the effective date of the Proclamation. Further, Plaintiffs understand that the Defendants
have not explained how a determination would be made as to whether the applicant actually
satisfies a national interest exception or whether such a showing would be possible.
3
        9 FAM 502.1-1(D)(4)(a) (“For preference category and derivative petitions, the ‘CSPA
age” is determined on the date that the visa, or in the case of derivative beneficiaries, the
principal alien’s visa became available (i.e., the date on which the priority date became current in

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status will be preserved, provided they seek lawful permanent resident status within one year.
But there are times when the dates for filing are current that allow applicants to file the DS-260,

but the final action date for receipt of the visa is not current. A child who pays the fees can still
age out if he or she turns 21 prior to the visa becoming current according to the Final Action
Dates in the relevant monthly bulletin.4

II.    Plaintiffs properly invoke this Court’s authority under the All Writs Act.

       Plaintiffs properly invoke this Court’s authority under the All Writs Act to “issue all writs

necessary or appropriate in aid of [its] respective jurisdictio[n] and agreeable to the usages and

principles of law.” 28 U.S.C. § 1651(a). Pursuant to the Act, the Court may grant injunctive

relief whenever it is “calculated in [the court’s] sound judgment to achieve the ends of justice

entrusted to it.” Klay v. United Healthgrp, Inc., 376 F.3d 1092, 1100 (11th Cir. 2004) (quoting

Adams v. United States, 317 U.S. 269, 273 (1942)). The Court’s use of its equitable authority to

preserve its jurisdiction is necessary and appropriate here to restore access to urgent and

emergency consular processing and visa adjudication services to class member children in

danger of losing their access to the visa process, and thus to protect those members’ claims from

becoming mooted by the new Proclamation. Because the factors the Court would consider in

issuing a traditional preliminary injunction do not apply under the All Writs Act, Plaintiffs need

not address the legality of the Proclamation in order to obtain this relief.



the Application Final Action Dates and the petition was approved, whichever came later). The
CSPA age is the result of subtracting the number of days that the IV petition was pending with
USCIS (from date of receipt to date of approval, including any period of administrative review)
from the actual age of the applicant on the date that the visa became available.”).
4
       Charles Wheeler, Filing for adjustment or immigrant visas using CSPA, CLINIC (Mar.
23, 2018), https://cliniclegal.org/resources/family-based-immigration-law/filing-adjustment-or-
immigrant-visas-using-cspa.


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         A.     Plaintiffs’ seek to preserve and protect the ongoing exercise of this Court’s
                jurisdiction.

         Plaintiffs request injunctive relief to preserve this Court’s jurisdiction over their

underlying claims, which seek to ensure class members’ access to the visa adjudication process,
and to protect the injunctive relief that this Court already has afforded. In the absence of
Plaintiffs’ requested relief, the Proclamation will functionally extinguish the visa eligibility of
certain underage members of the Visa Applicant Subclass without any adequate notice to those
members. If that occurs, the Proclamation, with only one day’s notice, will have terminated their
underlying claims for relief and render meaningless the injunctive relief the Court has already
issued. Defendants’ contention—that the All Writs Act relief is inappropriate because Plaintiffs’
Motion is unrelated to this lawsuit, Opposition at 13–23—must be rejected.
         In their Motion, Plaintiffs seek to protect the rights of otherwise eligible Visa Applicant
Subclass members to access the injunctive relief this Court already has afforded. That injunctive
relief ensures that members of the certified Visa Applicant Subclass can access the visa
adjudication process free from the unlawful requirements of Defendants’ Healthcare
Proclamation. ECF 95, at 48. For Subclass members who are at imminent risk of aging out from
their visa category, and therefore potentially their visa eligibility, Defendants’ new Proclamation
undermines the ability of the Court’s injunction to maintain the status quo or actually provide
relief. Without immediate relief, Subclass members who age out over the next 21 days will no
longer have access to a visa process and will be unable to benefit from the relief ordered by this
Court.
         Contrary to Defendants’ assertions, the All Writs Act relief that Plaintiffs seek is virtually
indistinguishable like the All Writs Act relief that the Ninth Circuit upheld in Al Otro Lado v.
Wolf, 952 F.3d 999 (9th Cir. 2020). There, the district court issued a traditional preliminary
injunction and an All Writs Act injunction restraining the application of the asylum ban—a
policy plaintiffs had not challenged in their underlying complaint—because the ban “would
effectively moot Plaintiffs’ request for relief in the underlying action by extinguishing their


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asylum claims.” Al Otro Lado, Inc. v. McAleenan, 423 F. Supp. 3d 848, 869 (S.D. Cal. 2019);
see also id. (“Should the Asylum Ban be applied to Plaintiffs, these individuals’ asylum claims

would be foreclosed, as would any claim and request for relief regarding their right to access the
asylum process.”). The Ninth Circuit upheld the injunction, concluding that the district court
properly had exercised its authority under the All Writs Act and that both the request for
injunctive relief and the underlying complaint “sought to preserve class members’ access to the
asylum process.” Al Otro Lado, 952 F.3d at 1006 n.6.5
       Likewise here, Plaintiffs’ underlying complaint and their request for injunctive relief seek
to preserve qualified immigrants’ access to the visa process and prevent their claims from
becoming moot by operation, without notice, of Defendants’ new Proclamation. And as the Al
Otro Lado plaintiffs had alleged an “unlawful, widespread pattern and practice of denying
asylum seekers access to the asylum process” in their complaint, see id. at 1006 n.6, Plaintiffs’
underlying complaint alleges that the Healthcare Proclamation unlawfully denies visas to
otherwise qualified intending immigrants. See, e.g., ECF 100, at ¶¶ 1 (Healthcare Proclamation
would “block nearly two thirds of all prospective legal immigrants . . . from receiving visas and
coming to the United States”); 3 (Healthcare Proclamation creates “requirements that will be
extremely difficult, or impossible, for most otherwise qualified immigrant visa applicants to
satisfy”); 6 (Healthcare Proclamation is “poised to create a new class of otherwise qualified
immigrants who are barred from entry”); 7 (Healthcare Proclamation is a “too[l] that the Trump
Administration is seeking to use in order to exclude [otherwise qualified] prospective
immigrants”); 34 (Healthcare Proclamation “absolutely bars the entry of” otherwise qualified
prospective immigrants). Plaintiffs’ request for injunctive relief similarly challenges a policy that

5
        The Ninth Circuit held that the district court had properly issued an All Writs Act
injunction and then cited Pacific Radiation Oncology, 810 F.3d at 636, for the proposition that
the plaintiffs in Al Otro Lado had also shown a “sufficient relationship between the injury
claimed in the motion for injunctive relief and the conduct asserted in the underlying complaint.”
Plaintiffs do not read the Ninth Circuit’s analysis to import the standard from Pac. Radiation
Oncology into the All Writs Act analysis. But as explained above, even if the standard does
apply, Plaintiffs meet it.

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would eliminate visa eligibility for otherwise qualified intending immigrants – specifically, the
F2A preference members of the Visa Applicant Subclass – and thus deny those subclass

members the relief previously afforded by this Court. See also Nat'l Org. for the Reform of
Marijuana Laws v. Mullen, 828 F.2d 536, 544 (9th Cir. 1987) (“One of the recognized
applications of the All Writs Act is the issuance of orders necessary to ensure the integrity of
orders previously issued.”).

       B.      The traditional injunctive factors do not apply under the All Writs Act.
       Defendants incorrectly contend that the standard established in Winter v. Natural Res.
Def. Council, Inc., 55 U.S. 674, 689–90 (2008), applies under the All Writs Act. Opp. at 12. As
Plaintiffs explained in their Motion, however, an All Writs Act injunction “stem[s] from very
different concerns than those motivating preliminary injunctions,” and therefore need not comply
with that standard. In re Baldwin-United Corp. (Single Premium Deferred Annuities Ins. Litig.),
770 F.2d 328, 338 (2d Cir. 1985). As the Eleventh Circuit has explained,

       Whereas traditional injunctions are predicated upon some cause of action, an All
       Writs Act injunction is predicated upon some other matter upon which a district
       court has jurisdiction. Thus, while a party must “state a claim” to obtain a
       “traditional” injunction, there is no such requirement to obtain an All Writs Act
       injunction—it must simply point to some ongoing proceeding, or some past order
       or judgment, the integrity of which is being threatened by someone else’s action or
       behavior. The requirements for a traditional injunction do not apply to injunctions
       under the All Writs Act because a court's traditional power to protect its
       jurisdiction, codified by the Act, is grounded in entirely separate concerns.

Klay, 376 F.3d at1100;6 Flores v. Barr, 407 F. Supp. 3d 909, 929 n.16 (C.D. Cal. 2019) (“The

Ninth Circuit does not appear to require courts to examine the traditional requirements for



6
         Defendants’ citation to Klay ignores the Eleventh Circuit’s extensive discussion of the
distinction between “traditional” injunctions and All Writs Act injunctions. Instead, Defendants
cite Klay’s footnote, which merely points out that the All Writs Act may not be used to
circumvent the traditional requirements for an injunction “when a party is in reality seeking a
‘traditional’ injunction.” Klay, 376 F.3d at 1101 n.13. This observation is inapplicable here,
where Plaintiffs have properly asserted equitable relief under the principles of the All Writs Act
itself.

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obtaining injunctive relief in order to issue such relief under the All Writs Act.” (citing M&P

Invs., 46 F. App’x 876, 878 (9th Cir. 2002)).7

       Nevertheless, Defendants argue at length that the Proclamation is lawful, and that

Plaintiffs have not challenged its legality. Opp. at 3, 23–26. But that, of course, is irrelevant.

As the Supreme Court has made clear, “[t]he power conferred by the [All Writs] Act extends,

under appropriate circumstances, to persons who, though not parties to the original action or

engaged in wrongdoing, are in a position to frustrate the implementation of a court order or the

proper administration of justice . . . and encompasses even those who have not taken any

affirmative action to hinder justice.” United States v. New York Tel. Co., 434 U.S. 159, 174

(1977) (emphasis added).

       The Ninth Circuit’s decision in Makekau v. Hawaii, 943 F.3d 1200, 1204 (9th Cir. 2019),

is not to the contrary. There, the Ninth Circuit considered whether a plaintiff who obtains an All



7
        Authority cited by Defendants, Opp. at 12, 22, does not state otherwise. See, e.g., n.6
supra; In re Jimmy John’s Overtime Litig., 877 F.3d 756, 770 (7th Cir. 2017) (addressing
injunctive requirements only insofar as they pertain to “anti-suit injunctions”); Fla. Med. Ass’n v.
U.S. Dep’t of HEW, 601 F.2d 199, 202 (5th Cir. 1979) (involving an injunction going to the
merits of the case-in-chief); Ben David v. Travisono, 495 F.2d 562, 563 (1st Cir. 1974)
(affirming merely “the common sense rule that a court should let the parties and an appellate
court know why it acts, and on what factual basis”). In Wisconsin Right to Life, Inc. v. Fed.
Election Comm’n, 542 U.S. 1305, 1306 (2004) (Rehnquist, C.J., in chambers), Chief Justice
Rehnquist, sitting in his capacity as a Circuit Justice, addressed his authority to grant an All
Writs Act injunction pending appeal, that would bar the enforcement of an Act of Congress. Id.
at 1305. In that situation, he observed that such extreme power was only appropriately exercised
by the Supreme Court where the legal rights at issue are “indisputably clear.” Id. at 1306
(quoting to a line of single-justice decisions that use similar language to characterize when the
Supreme Court should intervene to provide mandatory injunctive relief); see also Hobby Lobby
Stores, Inc. v. Sebelius, 568 U.S. 1401, 1403 (2012) (Sotomayor, J., in chambers) (citing same
language to characterize a Circuit Justice’s use of injunctive power while a case is pending
appeal); Klay, 376 F.3d at 1101 n.13 (noting that “[w]e have found no other cases involving
injunctions under the All Writs Act where this requirement, concerning the ‘indisputably clear’
nature of the right, is applied”).


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Writs Act injunction qualifies as the “prevailing party” for fee-shifting purposes. Id. In holding

that it did not, the court noted that the Supreme Court’s decision in Dunn v. McNabb, 138 S. Ct.

369 (2017), on which the plaintiff had relied, stood for “the unremarkable proposition that the

All Writs Act does not erase separate legal requirements for a given type of claim.” Id. In other

words, Makekau stands for the principle that a party who wishes to recover attorneys’ fees in an

action must satisfy the legal requirements of a prevailing party—and an All Writs Act injunction

does not satisfy these requirements precisely because an All Writs Act injunction does not

require the court to evaluate the legality of the enjoined action. And in Dunn, the Ninth Circuit

observed that a plaintiff who seeks and obtains a stay of execution under the All Writs Act

always must show “a significant possibility of success on the merits”—but that requirement has

nothing to do with the All Writs Act. Id. Under the All Writs Act, Plaintiffs need not challenge

the legality of the action they seek to restrain.8

        Nor does Pac. Radiation Oncology, LLC v. Queen's Med. Ctr., 810 F.3d 631, 636–37 (9th

Cir. 2015), help Defendants. There, the Ninth Circuit upheld a district court’s denial of a

traditional preliminary injunction because the plaintiff had not asked for relief on the claims in

its underlying complaint. The Ninth Circuit explained that the plaintiff not only had “fail[ed] to

explain” how the claims underlying its motion for injunctive relief related to the claims in its

complaint, but also had actually “admitted in the district court that its motion for injunctive relief

has nothing to do with the underlying claim.” Id. at 637. Applying the traditional preliminary

injunction standard, the Ninth Circuit upheld the denial of injunctive relief. Id. at 638. Pacific


8
          To be clear, Plaintiffs do not concede that the Proclamation is lawful. Indeed, the
Proclamation likely suffers the same flaws as this Court found in the Healthcare Proclamation—
i.e., it was issued outside the President’s authority under 8 U.S.C. § 1182(f) and appears to
undermine Congressional intent in creating separate family-based and employment-based
immigrant visa tracks in the INA. See, e.g., 8 U.S.C. §§ 1153(a)–(b).

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Radiation Oncology is not an All Writs Act case—its application of the traditional preliminary

injunction standard is therefore not transferable to Plaintiffs’ request here.9

       The All Writs Act exists to protect against any conduct that could “frustrate the

implementation of a court order or the proper administration of justice.” New York Tel. Co., 434

U.S. at 174. Plaintiffs properly invoke it here.

III.   Even if traditional injunctive factors applied, they weigh in favor of relief.

       Even if the traditional requirements for obtaining injunctive relief applied in the context

of the All Writs Act, they support an injunction here. As noted above, the Proclamation suffers

from the same fatal flaws as the Healthcare Proclamation. The Proclamation, moreover,

threatens indefinite family separation for F2A children who did not receive adequate notice of

the Presidential Proclamation and could now age out while the Proclamation remains in effect.

No harm Defendants articulate seriously outweighs this irreparable harm to these children

members of Plaintiffs’ Visa Applicant Subclass.

       Defendants, not Plaintiffs, are best positioned to identify the children at risk of aging out

of the F2A preference category within the next 21 days, but the harm the Proclamation will

inflict on such children if they are barred from accessing emergency consular processing is real.

For the minor children of lawful permanent residents seeking F2A visas, the INA establishes one

processing queue, with the most generous allocation of annual visas issued (87,934 for FY

2019), regardless of their country of origin. 8 U.S.C. § 1153(a)(1)(2)(A); see also Declaration of

Charles Wheeler in Support of Plaintiffs’ Motion for Temporary Restraining Order (“Wheeler


9
        The other cases that Defendants cite do not support their argument that Plaintiffs’
requested relief must be based on their initial claims. See De Beers Consol. Mines v. United
States, 325 U.S. 212, 219 (1945) (discussing elements of the “substance of the injunction” in the
case at hand); Colvin v. Caruso, 605 F.3d 282, 299–300 (6th Cir. 2010) (considering the
application of traditional injunctive factors).

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Decl.”) ¶ 8. Those children will lose their place in that unified and preferential queue the

moment they age out of the F2A preference category. They will fall into the F2B queue, which

has a far more limited number of visas available (26,260 for FY 2019, or one-third of the visas

available to the F2A preference category), and which is also subject to per-country limits.10 8

U.S.C. § 1153(a)(2)(B); see also Wheeler Decl. ¶¶ 4, 7, 8. Whereas all countries are “current”

for F2A visas at the moment—i.e., there are visas available for applicants in that preference

category—all countries are backlogged in the processing of F2B applications. Wheeler Decl.

¶ 9. For individuals from countries with high demand for visas, such as China, India, Mexico, or

the Philippines, that backlog can result in a wait for an F2B visa that will last for decades.11

Wheeler Decl. ¶ 9–12 (noting that the length of time it will take to clear up the current backlog

for the Mexico F2B category is approximately 67 years).

       For F2A children seeking to reunite with parents, a decades-long wait would represent a

family separation for most of their adult lives. This Court has already held that such prolonged

or indefinite family separation constitutes irreparable harm.12 ECF 95, at 35–36 (citing cases);



10
        See 8 U.S.C § 1152 (establishing that no single country of origin can account for more
than 7 percent of all family-preference and employer-preference green cards combined).
11
        Nor does the Child Status Protection Act provide full protection for children in danger of
aging out of the F2A preference category. The CSPA was not intended to address the normal
backlog in the family- and employment-based preference system, nor to protect all applicants for
immigration benefits from the consequences of aging out. Rather, it was meant to ensure that
certain family members who turn 21 will not be prejudiced by delays in the processing of their
petitions by U.S. Citizenship and Immigration Services. See Wheeler Decl. ¶ 13. Thus, for
children who cannot take advantage of the CSPA or age out even under the protections the CSPA
affords, turning 21 means losing the F2A preference. See Wheeler Decl. ¶ 14.
12
       Although Defendants argue that “Plaintiffs have not identified a single person who
allegedly has been or would be harmed by the COVID-19 Labor Proclamation,” Opp. at 26–27,
Defendants themselves are in the best position to identify which Visa Applicant Subclass
members are at risk of harm due to aging out of the F2A preference category during the
Proclamation’s initial 60-day effective period.

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see also Leiva-Perez v. Holder, 640 F.3d 962, 969-970 (9th Cir. 2011) (holding that “separation

from family members” and the mental damage accompanying such separation constitutes

irreparable harm). The Proclamation, moreover, inflicted this significant, imminent harm

without a grace period, the opportunity for a waiver, or any semblance of notice, the latter of

which would have at least enabled F2A children on the cusp of aging out to seek a legal remedy

through a conventional lawsuit or through an emergency request for an interview with the

Consulate. See United States v. Morgan, 346 U.S. 502, 512 (1954) (holding that the All Writs

Act’s purpose is to enable the Court to remedy a “wrong [which] may [otherwise] stand

uncorrected”).

       For this reason, the narrow and temporary nature of the relief Plaintiffs request serves the

public interest and does not cause irreparable harm to Defendants. There is no urgent need to

upset the decades-long status quo for the relatively small population of F2A children who will

age out within the 21 days of the requested injunction.13 See FTC v. Dean Foods Co., 384 U.S.

597, 604 (1966) (recognizing “a limited judicial power” under the All Writs Act “to preserve the

court’s jurisdiction or maintain the status quo by injunction pending review of an agency’s action

through the prescribed statutory channels”). A narrow injunction carving out a temporary

exception to provide these children with access to emergency consular services without the

burdens of the Proclamation does not seriously hinder or otherwise cause “significant



13
        This is especially true given that leading scientists project that COVID-19’s impact, and
thus also the “economic recovery” the Proclamation ostensibly seeks to protect, will continue for
many months, if not years. Dennis Thompson, Annual ‘COVID-19 Season’ May Be Here To
Stay, Scientists Predict, U.S. News & World Report (Apr. 14, 2020),
https://www.usnews.com/news/health-news/articles/2020-04-14/annual-covid-19-season-may-
be-here-to-stay-scientists-predict; Katie Rogers, Trump’s Scientists Push Back on His Claim
That Virus May Not Return This Fall, N.Y. Times (Apr. 22, 2020),
https://www.nytimes.com/2020/04/22/us/politics/trump-coronavirus-fall.html.

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institutional injury” to the President’s flexibility in addressing a global crisis, Opp. at 28, but

instead preserves the special visa processing preference Congress gave them because of their

vulnerable status as minor children of lawful permanent residents already here in the United

States. See, e.g., Boehringer Ingelheim Corp. v. Shalala, 993 F. Supp. 1, 3 (D.D.C. 1997)

(“[T]he public interest is served by the lawful application of statutes . . . .”).

        In the absence of a temporary injunction restraining implementation or enforcement of

the Proclamation against the F2A children members of the Visa Applicant Subclass, these

children will lose their place in the F2A visa processing queue—a preference Congress expressly

extended to these children—and their attempt to reunite with their parents will be extinguished

for possibly decades. That outcome will make this Court’s existing injunction functionally

irrelevant as to these children. See Scialabba v. Cuellar de Osorio, 573 U.S. 41, 50 (2014). A

narrow and temporary injunction would preserve these children’s place in the F2A preference

queue, allow them to access emergency consular processing, and afford them the benefits of this

Court’s injunction, which would enable them to seek a visa without being subject to the

Healthcare Proclamation’s requirements and avoid the irreparable harm of prolonged family

separation. Such an injunction serves the public interest by preventing family separation and

hardship to the U.S. resident family members of these children,14 and ensures the integrity of this

Court’s existing order.15




14
       Hawai’i v. Trump, 878 F.3d 662, 669 (9th Cir. 2017), rev’d on other grounds, Trump v.
Hawai’i, 138 S. Ct. 2392 (2018); Hernandez v. Sessions, 872 F.3d 976, 996 (9th Cir. 2017)
(holding that an injunction that reduces “the indirect hardship to . . . family members” inflicted
by family separation serves the public interest).
15
        Nat’l Org. for Reform of Marijuana Laws, 828 F.2d at 544 (9th Cir. 1987)
(acknowledging that “[o]ne of the recognized applications of the All Writs Act is the issuance of
orders necessary to ensure the integrity of orders previously issued”).

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                                        CONCLUSION
       Plaintiffs respectfully request that the Court grant their emergency motion, issue an
immediate order, and provide any other relief that the Court deems just and proper.

       DATED this 28th day of April, 2020.


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